Price Law Group, APC
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Encino, California 91436

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PRJCE LAW GRoUP, APC §§
o Thomas Martin, m (Bar NO. 218456) ”F
15760 Ventura Bivd., Suite 1100 ; <J`\
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§Tei@ph@ne; 318.907.2030 §;_'- ii ,\§
Faosimile: 818.205.3730 ;I;._~, ca
tom@plglawfirm.com §§ co
Attorney for Plaintiff
DAVH) v. RAMIREZ

UNITED STATES DISTRICT CoURT
CEN'§RAL DISTRl§
lmle v. RAMIREZ, CaSeNO.-. --~ --
. Piaintiff, CoMPLAINT AND DEMAND FoR

vS. JURY TRIAL FoR=

I. VIOLATIONS OF` "[`HB ROSENTHAL
FAIR DEBT COLLECTIO§\I PRACTICES

Qc HoLDINGS, INC., a corporation, dba ACT [CAL» CIV_ CODE § 1788]

CALIFORNIA BUDGET FINANCE; and

DOES 1 m 193 inclusive’ 2. VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECTION ACT [47
Defendants. U.S.C. § 227]

3. wILLFUL VIOLATIONS oF THE
TELBPHONE CoNSUMER
PRoTECTIoN Ac'i“ [47 U.S.c. § 227]

 

 

 

 

COMPLAINT FOR DAMAGES
INTROI)UCTION
1. David V. Ramirez (Pl&intiff), an individuai, brings ihis action to secure redress
from QC Holdings, In.c. dba California Budget Finanoe (Defend&ot) for violations of the iaw,
including but not limited to violations of the Te]ephone Consumer Proteotion Aci, 47 U.S.C. §
227 (TCPA) and violations of the Rosentha§ Fair Debt Colleotion Praotioes Act, Caiifomia
Civ11 Code § 1788 (RFDCPA).

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JURISDICTION AND VENUE
2. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiff’s
TCPA claims arise under the laws of the United States. Further, jurisdiction in this Court is `
proper for Plaintiff’s RPDCPA claims under 28 U.S.C. § iBG'/'(a) as Plaintifi”s RFDCPA
claims are so related to Plain.tiff` s TCPA claims that they form part of the same case or
controversy under Article 111 of the United States Constitution.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(§)) because the acts
and transactions alieged in this Compiaint occurred here, Piaintiff resides here, and Defendant
transacts business here

PARTIES

4. David V. Rarnirez (Plaintift) is an individual, residing in Los Angeies, Los
Angeies County, California 90046. Piaintiff is a natural person from eroin a debt collector
seeks to collect a consumer debt which is due and owing or aileged to be due and owing from
such person and thus Plaintiff is a c‘de‘c»tor" as defined by the RFDCPA, CAL. CIV. CODE §
1788.2(b).

5. Upon information and belief, QC Holdings, inc., is incorporated under the laws
of the State of Kansas with its principle place of business located at 9401 Indian Creel< Pkwy,
Suite 1500, Overland Park,'Kansas 66210. Upon information and beiief, QC Holdings inc.’s
Registered Agent for Service of Process is 'l`he Corporation Company, lnc., 112 SW 7“‘ Street,
Suite 3C, "l`opel<a, Kansas 66603. Upon information and beliet`, QC Holdings regularly
transacts business in this District and reguiarly does business as California Budget Finance.

6. Upon information and belief, in the ordinary course of business, regularly, on
behalf of itself or others, Defendant engages in debt collection and thus is a "debt coltector" as
defined by the RFDCPA, CAL. CIV. CODE § 1788.2(0). Upon information and belief,
Defendant regularly engages in the coliection of debt by telephone in several states inciuding,
California.

7. The true names and capacities, Whether individual, corporate, or in any other

form, of Defendants DOES l through 10, inclusive, and each of them, are unknown to Plaintiff,

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COMPLAENT FOR DAMAGES

 

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who therefore sues them by such fictitious names. Plaintiff will seek leave to amend this
Cornplaint to show the true names and capacities of DOES l through 10 should they be
discovered

FACTUAL ALLEGATIONS

8. Upon information and belief, prior to August 15, 2012 Piaintiff allegedly
incurred a debt at California Budget Finance, Store 674, located at 3100 Glendale Boulevard,
Suite B, Los Angeles, California 90039 (alleged debt).

9. Upon information and belief, the alleged debt consisted of money, property or
their equivalent, due or owing or alleged to be due or owing from a natural person by reason of
a consumer credit transaction and as such, qualities as *’consurner debt," as defined by
RFDCPA, can crv. cons § irss.:z(n.

10. Upon information and belief, within one year prior to the filing of this action,
Defendant left a voice message on Plaintiff’s cellular telephone stating the following: “Hi, this
message is for David Rarnirez. David it is important for you to contact us back as soon as
possible We have not heard from you. The call back number is area code (323) 665-6620.
Thank you.”

ll. Upon information and belief, within one year prior to the filing of this action,
Defendant placed no less than one (l) telephone call to Plaintiff for the purpose of collecting
the alleged debt without disclosure of Defendant’s identity

12. Upon information and helief, within one year prior to the filing of this action,
Defendant constantly and continuously called Plaintiff from telephone numbers (800) 660-5542
and (323) 665~6620 for the purpose of collecting the alleged debt.

13. Upon information and belief, within one year prior to the filing of this action,
Defendant constantly and continuously called Plaintiff at Plaintiff`s cellular telephone numbers
(323) 843-4396 and (323) 665-6620 for the purpose of collecting the alleged debt.

14. Upon information and belief, Defendant called Plaintiff every single day for

several days in a row for the purpose of collecting the alleged debt. Upon information and

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belief, between February 19, 2012 and February 24, 20l2 Defendant called Plaintiff every
single day for the purpose of collecting the alleged debt.

15. Upon information and belief, within one year prior to the filing of this action
l)efendant called Plaintiff multiple times in the same day for the purpose of collecting the
alleged debt. Upon information and belief, on Decernber 6, 2013, Defendant called Plaintiff no
less than three (3) times for the purpose of collecting the alleged debt

16. Upon information and belief, within one year prior to the filing of this action,
Del`endant caused Plaintiff’ s telephone to ring repeatedly or continuously to annoy Piaintiff.

17. Upon information and belief, within one year prior to the filing of this action,
Defendant communicated with Plaintiff with such frequency as to be unreasonable and
constitute harassment to Plaintiff.

18. Upon information and belief, within one year prior to the filing of this action,
Defendant called Piaintiff for the purpose of collecting the alleged debt and communicated with
the debtor other than in the name of i)efendant.

l9. Upon information and beiief, on August 15, 2012, Piaintiff filed Chapter 7
bankruptcy case number 2:12-bk_37860 in the United States Banl<ruptcy Court for the Central
District of California.

20. Upon information and belief, the alleged debt was included in Plaintift”s
Chapter 7 bankruptcy petition in “Schedule F” as a “creditor holding an unsecured nonpriority
claim.

21. Upon information and belief, Defendant had notice Plaintiff filed the
abovernentioned Chapter 7 bankruptcy

22. Upon information and belief, Defendant had notice Plaintiff was represented by
an attorney in regards to the alleged debt.

23. Upon information and belief, Defendant called Plaintiff to collect the alleged
debt while Plaintiff was in an active Chapter 7 bankruptcy and while Plaintiff was protected by

the Autornatic Stay of the United States Bankruptcy Court.

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COMPLAINT FOR DAMA.GES

 

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24. Upon information and belief, Defendant called Plaintift` to collect the alleged
debt even though it had notice Plaintiff was in an active Chapter 7 bankruptcy and while
Plaintiff was protected by the Automatic Stay of tlie United States Bankruptcy Court.

25. Upon information and belief, on Novernber 19, 20l2, Plaintiff received a
discharge in the abovernentioned bankruptcy and thus, was discharged of his personal liability
for the alleged debt.

26. Upon information and belief, Defendant filed no objection to l’laintiff’s
discharge of the alleged debt.

27. Upon information and belief, Defendant had notice of Plaintiff’ s discharge in the
abovementioned Chapter 7 bankruptcy oase.

` 28. Upon information and belief, Defendant had knowledge that Piaintiff was
discharged of his personal liability to pay the alleged debt.

29. Upon information and belief, Defendant called Plaintiff to collect the alleged
debt after Plaintiff had been discharged of his personal liability to pay the alleged debt.

30. Upon information and belief, Defendant attempted to collect the alleged debt
from Plaintit`f even though Defendant knew Plaintiff was not personally liable to pay the
alleged debt.

31. Upon information and belief, Defendant called Plaintiff to collect the alleged
debt even though it had notice Plaintiff was represented by an attorney with regards to the
alleged debt. l

32. The natural and probable consequences of Defendants conduct as alleged herein
was to harass, oppress, or abuse Plaintiff.

33. The natural and probable consequences of Defendants conduct as alleged herein
was to cause Plaintifi”s telephone to ring or engage Plaintiff in telephone conversations
repeatedly

34. llpon information and belief, within one year prior to the filing of this action,

Defendant placed no less than one call to Plaintiff without disclosing Defendant’s identity

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COMPLAINT FOR DAMAGES

 

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35. 'l`he natural and probable consequences lof Defendants conduct as alleged herein n
amounts to false, deceptive, or misleading representations or means in connection with the
collection of the alleged debt.

36. The natural and probable consequences of l)efendants conduct as alleged herein
amounts to a false, deceptive, or misleading representation of the character, amount or legal
status of the alleged debt.

37. lite natural and probable consequences of Defendants conduct as alleged herein
amounts to a false representation or deceptive means to collect the alleged debt or obtain
information about Plaintiff.

38. Upon information and belief, within one year prior to the filing of this action,
while attempting to collect the alleged debt from plaintiff, Defendant failed to inform Plaintiff
that it was attempting to collect a debt and that any information obtained would be used for
that purpose

39. "fhe natural and probable consequences of Defendants conduct as alleged herein
amounts to unfair or unconscionable means to collect or attempt to collect the alleged debt.

40. The natural and probable consequences of Defendants conduct as alleged herein
amounts to an attempt to collect any amount that is not authorized by the agreement creating
the debt or permitted by law.

41. Upon information and belief, within one year prior to the filing of this action,
Defendant called Plaintiff multiple times using an artificial prerecorded voice or using
equipment which has the capacity to store or produce telephone numbers to be called, using
random or sequential number generator and to dial such numbers, also known as an “autornatic
telephone dialing system” as defined by 47 U.S.C. § 227(a)(l)(A) and (B).

42. Upon information and belief, within one year prior to the filing of this action,
l)efendant called Plaintift`s cellular telephone no less than twenty»one (21) times using an

artificial prerecorded voice or an automatic telephone dialing system

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43. l l Uponwmforrnation and-beliei",'l)ei`endant didn-not receive Plaintii`i" s consent
before using an artificial prerecorded voice or an automatic telephone dialing system to contact
Plaintit`f.

44. l§pon information and belief, Det"endant did not have an emergency purpose t`or
contacting Plaintit`f using an artificial prerecorded voice or anl automatic telephone dialing
system.

45. Upon information and beliet`, Dei"endant willfully or knowingly violated the
Telephone Consumer Protection Act when it called Plaintitf no less than twenty»one (2l) times
using an artificial prerecorded voice or an automatic telephone dialing system.

FIRST CAUSE OF ACTION
(Violation of the Rosenthal Fair Debt Collection Practices Act,
Californla Civil Code § 1788)

46. Plaintiff incorporates herein by reference all of the above paragraphs of this
Cornplaint as though fully set forth herein at length

47. Defendant violated the RFDCPA. Defendant’s violations include, but are not
limited to, the following:

(a) Defeiidant violated CAt.. CIV. CODE § l788. l l(b) by placing telephone calls
without disclosure of the caller‘s identity, provided that an employee of a licensed collection
agency may identify himself by using his registered alias name as long as he correctly identities
the agency he represents; and

(b) Delendant violated CAL. CIV. CODE § l788. l l(d) by causing a telephone to ring
repeatedly or continuously to annoy the person called; and

(c) Defendant violated CAL. CIV. CODE § l788.ll(e) by communicating by
telephone or in person, with the debtor with such frequency as to be unreasonable and to
constitute an harassment to the debtor under the circurnstances; and

(d) Defendant violated CAL. CIV. CODE § 1788. 13(a) by communicating with the
debtor other than in the name either of the debt collector ortho person on whose behalf the debt

collector is acting; and

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n (e) Defendant violated CAL. CIV. CODE § 1783.17 by collecting or attempting to
collect a consumer debt without complying with the provisions of Sections 1692b to
1692j,inclusive, of . . . Titie 15 of the United States Code.

(i) Defendant violated CAL CIV. CODE § 1788.17 by violating 15 U.S.C. §
l692c(a)(2) by communicating with a consumer in connection with the collection of any debt
when the debt collector knows the consumer is represented by an attorney with respect to such
debt; and

(ii) l)efendant violated CAL. CEV. CODE § 1788.17 by violating 15 U.S.C. § l692d
by engaging in conduct, the natural consequence of which is to harass, oppress or abuse any

person in connection with the collection of the alleged debt; and

(iii) Defendant violated CAL.-CIV. CODE § 1788.§7 by violating 15 U.S.C. §
1692d(5) by causing Plaintiff’ s phone to ring or engaging Plaintiff in telephone conversations
repeatedly; and

(iv) Deiendant violated CAL. CIV. CODE § l788.l7 by violating 15 U.S.C. §
1692d(6) by placing telephone calls without meaningful disclosure of the caller’s identity; and

(v) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. § 1692e
by using false, deceptive, or misleading representation or means in connection with the
collection of any debt; and

(vi) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
1692e(2) by making a false representation of the character, amount or legal status of any debt;
and

(vii) Defendant violated CAL` ClV. CODE § 1788.17 by violating 15 U.S.C. §
l692e(10) by using any false representation or deceptive means to collect or attempt to collect
any debt or to obtain information concerning a consumer; and

(viii) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
1692e(11) by failing to disclose in the initial written communication with the consumer and, in

addition, in the initial communication is oral, in that initial oral communication, that the debt

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COMPLAINT FOR DAMAGES

 

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collector is attempting to collect a debt and that any information obtained will be used for that
purpose; and

(ix) Det`endant violated CAL. Civ. CODE § 1788.17 by violating 15 U.S.C. § l692f by
using unfair or unconscionable means in connection with the collection ot` an alleged debt; and

(x) Deiendant violated CAL. CI\I. CODE § l788.l7 by violating 15 U.S.C. § 1692f(l)
by attempting to collect any amount (including any interest, fee, charge, or expense incidental
to the principal obligation) unless such amount is expressly authorized by the agreement
creating the debt or permitted by law.

48. Det`endant’s acts as described above were done intentionally with the purpose of
coercing Plaintiff to pay the alleged debt.

49. As a result of the foregoing violations oi` the PDCPA, Defendant is liable to
Plaintiff for declaratory judgment that Defendant’s conduct violated the FDCPA, actual
damages, statutory damages, and costs and attorney fees.

SECOND CAUSE OF ACTION
(Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227)

50. Plaintiff incorporates herein by reference all of the above paragraphs of this
Cornplaint as though fully set forth herein at length.

51. On no less than twenty»one (21) occasions, Defendant violated TCPA 47 U.S.C.
§ 227 (b)(l)(A)(iii) which states in pertinent part, c‘lt shall be unlawful for any person within
the United States . . . to make any call (other than a call made for emergency purposes or made
with the prior express consent ot the called party) using any automatic telephone dialing system
or an artificial or prerecorded voice wm to any telephone number assigned to a . . . cellular
telephone service . . . or any service for which the called party is charged for the call.

52. As a result of Det`endant’s violations of 47 U.S.C. § 227, Plaintit`f is entitled to
an award of live hundred dollars ($500.00) in statutory damages, for each and every violation,
pursuant to 47 U.S.C. § 227(b)(3)(l3).

53. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the

future

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THIRD.CAUSE OF A.CTION_... _ _ _ ._ _

(Willful Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227)

54, Plaintiff incorporates herein by reference all of the above paragraphs of this
Cornplaint as though fully set forth herein at length

55. On no less than twenty~one (21) oceasions, Defendant willfully violated TCPA
47 U.S.C. § 227 (b)(i)(A)(iii) Which states in pertinent part, “lt shall be unlawful for any
person within the United States . . . to make any call (other than a call made for emergency
purposes or made with the prior express consent of the called paity) using any automatic
telephone dialing system or an artificial or prereeorded voice w»- to any telephone number
assigned to a . . . cellular telephone service . . . or any service for which the called party is
charged for the call

56. As a result of Defenclant’s Willful vioiations of 47 U.S.C. § 227, Plaintiff is
entitled to an award of one thousand five hundred dollars ($1,500.00) in statutory damages, for
each and every violation, pursuant to 47 U.S.C. § 227(l:))(3).

57. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the
future
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..PRAYER FOR.RELIEF _

WHEREFORE, Piaintiff respectfully requests that judgment be entered against

Defendant for the following

(a)
(b)
(C)
(d)

Aetual damages;
Statutory damages;
Costs and reasonable attorney fees;

Awarding Plaintiff any pre-judgment and post~j udgrnent interest as may he

allowed under the law;

(@)

For such other and further relief as the Court may deem just and proper.

DEMAND FOR JURY TRIAL

Please take notice that Plaintiff demands a trial by jury in this action.

Dated: Fehruary 22, 20l3

RESPECTFULLY SUBMITTED,
PRICE LAW GRO , APC

 

By:

 

G. Thornas Martin, Ili
Al'fomeyfor Pldi)'ztg`jf

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AO 440 (Rev. 12/{)9) Summons in a Ci`vil Actioii

for the

Central District of Caiiforn§a

   

 

Plcri"r'i€ij]f

David V. Ramirez ~_
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v. Civil Actiori No.

)
QC i~iold§ngs, inc., a corporation dba Caiiforri§a )
singer Finance; and poles i io 10, inelusive, )

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Defendcmr
SUMMONS IN A CIVIL ACTION

TOZ (Defendcm£ ’s name and address)
QC Hoidings, ine., a c<:>rporationl dba Caiifornia Budget Finarice
940? indian Creei< Pkwy, Suite 1560
Overlanci F’ark, Kaosas 66210

A lawsuit has been filed against you.

Witiiin 21 days after service of this summons on you (not counting the day you received it) ~»~»- or 60 days if you
are the United States or a United States agency, or an officer or employee of the Uiiited States described in Fed. R. Civ.
P. 12 (a){?,) or (3) m- you must serve on the plaintiff an answer to the attached complaint or a motion under Ru§e §2 of
the Federal Rules of Civii Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: G. thomas Mariin, i:i, Esq. (sei\§ 213456)

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T: (818) 997~2030; F: (866) 397-2030
torri@pigiavvfirrn.corn

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion with the court

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Date'.

 

 

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Case 2:13-cV-01566-SH Documé$n @d EISVOBWS Page 13 of 14 Page |D #:17

UNITED STATES I)ISTRICT CO‘URT, CENTRAL §)IS’I`RICT OF CALIFORNIA
ClVlL COVER SHEET

 

_I __(a_)_ PLAiN'I`Il"l`S {C|ieci< box ___ii‘_`_y_'__c_iu___ are representing yourselfi]) DEFENDANTS

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and DOES l to 10, inclusive

DAV]D V. RAl\/llR.EZ

 

(b) Attorneys (F¥rni Name, Acidress and '§'elephone Nuinber, if you are representing Attorneys {lf l<nown}

yourse|f, provide saine‘)
G. Thomas iviartiri, Ill (S BN 218456)

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15760 Vcritura Blvd., Suite 1 100, Eiicirio, CA 91436

 

 

!I. BASIS OF JURISDICTION {P§ace an X in one box only.} llI. CiTlZ.E,NSHlP OF PRINCIPAL ?ART!ES ~ For Diversity Cases On§y
(Place an X iii one box t`or plaintiff and one for dcfendarit.)
ill 1 U\S. Governrnent Plaintii"f 1913 Federal Question (U,S` PTF DEF PTF DEF
Govemment Not a Party} C:`tizen ot`This State €J l ij l incorporated or Princ§pal P|ace 13 4 111 4
ofBusiness in this State
1;1 2 U.S. Govemment Defendant 53 4 Diversity (lndieate Ci`tizeriship Citiaeu of Aiiother Siate 113 2 13 2 liicorporated and Principal Place El 5 ill 5
of Parties in Item l§l} of Busi:iess in Anot|icr State
Cit§zen or Sub_`;eet ofa Foreign Couritry Ei 3 111 3 Foreign Nation l:i 6 1111 6

 

 

lV. ORlGlN (Place an X in one box only,)

li'{l Original 111 2 Rcmoved t`rom 111 3 Rema:ided from iii 4 Rei\isiated or 121 5 'l`ransi`erred from another district (specify): 13 6 ivlulti~ 1111 ‘7 Appeal to Z)istrict
?roceeding State Court Appe|late Court Reopened Disir§ct Judge from
L:`tigation Magistrate judge

 

V. REQUESTED lN COMPLA!NT:

cLAss Acrloiv under F,R.c.i>. 23: i::i va due

JURY I)EMAND: li{‘r'es [:i No (C§ieclc ‘Yes` only if demanded in complaint.)

u{MONEY DsiviANi)Ei) 1N CoiviPi,AiNr= s according to proof

 

VI. CAUSE OF ACTION {Cite the U.S. Civi| Statute under which you are filing and write a brief statement ofcause. Do riot cite jurisdictional statutes unless diversityl)
§§ U.S.C. §68§ et seq. Violations ofthe Fair Credit Report Act

VIl. NATURE OF SUlT (Placc an X in one box only.)

 

  
 
   

 

 

 

 

 

   
 
   

 

  
   
 
 

 
   
   

 

 

 

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FOR OFl`lCE USE ONLY:

Case Number:

 

 

 

AI`TER COMPLETING THE FRONT Sli)l§ OF l"()RM CV~ 71 COMPLETE Tl~ili`. INFORMATION REQUESTED BELOW

 

CV~'li (05:'03)

CIVIL COVER SHEET

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UNI'I`ED STATES DISTRICT CUURT, CENTRAL DlSTRIC'I` OF CALIFORNIA
CIV]L COVER SHEE"F

V!ll(a). lDEN"l`lCAL CASES: I~§as this action been previously filed in this court and dismissed, remanded or ciosed? lE/No l.’.l Yes
.;fyes_.list.casenumber($):. ... l. .. __.. . ... . .. .. ... . . ... .. ..

VHI(E)). RELATED CASES: Have any cases been previously filed irl this court that are related to the present casc? l?!No ij Yes
lf yes, list case number(s):

 

Civil cases are deemed related ii'a previously filed case and the present case:
(Check all boxes that apply) 13 A. Arise from the same or closely related transactions happenings cr cvents; or
D B. Call for determination of the same or substantially related or similar questions oflaw and fact; or
13 C. For other reasons would entail substantial duplication of labor ii` heard by differentjudges; or
ij ll involve the same patent1 trademark cr copyright, _a__n_§ one of the factors identified above in a, b or c also rs present

 

IX. VENU E: (When completing the following information use an additional street if ncccssary.)

{a) i,ist tire County in this District; Calr`t`orala County outside of this Disrrict; State if other than California; or Foret'gn Country, in which EACH named plaintiff resides
ill Check here it`the government its agencies or employees is a named plaintiff litth box is checked go to item (b).

 

Coun in this District:* Caiii"ornia County outside of this District', State, if other than California; or Foreig'n Courrtry
ly

 

ios Angeles

 

 

 

(b} hist the County in this Dr`strict; Ca|it`ornia County outside of this District', State if`otlrer than Calit`ornia', or Foreign Ccuntry, r'n which EACH named defendant resides
111 Cireck here it` the governmenl, its agencies or employees is a named defendant If this box is checked, go to item {c)v

 

Countyl in this District:* Calilcrnia County outside of this District; State, ii` other than Ca|ifornia; or Foreign Country

 

Kansas

 

 

{c) l.ist the Courrty in this l)istrict; Californr`a Coun£y outside ofthr`s District; State ii` other than Caliiornia‘, cr Foreign Courrtry, in which EACH claim arose.
Notc: in land condemnation eases, use the location of the tract ofiand involved.

 

County in this District:* Caiit'ornia County outside ofthis District; State, if other than Ca§if`ornia; or Foreign Country

 

Los Angeles

 

 

 

 

* bos Angeies, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Lnis Obispo Counties

 

Note: lo land condemnation cases use the location oi`the tr tofl involved f , t wl
X. slounrune or a'r'ror<r\rav{on r>Ro rear § § am "` l L‘E 4 ours 293/2913

Notiee tc Ccu nsclfPa rtics: The CV-'?l (JS-44} Civil Covcr Sheet and the information contained herein neither replace nor supplement the filing and service ofp|eadings
or other papers as required by law. '§`his t`orm, approved by the ludicial Conference ofthe Unitcd Slates in Septembcr 3974, is required pursuant to L.ocal Role 3-1 is not Eled
but is used by the Clerl< ot`the Court for the purpose ofstatistics, venue and initiating the civil docket sheet (For more detailed instructions see separate instructions shect.)

 

Kcy to Statisticai codes relating to Social Security Cases:

Nature oierit Cocie Abbreviation Subsiantive Statemcnt of Cause of Aetion

861 Z'HA A|l claims for health insurance benefits (Medicare) under Title 18, i’art A, otthe Social Security Act, as amended
A|so, include claims by hospitals, skilled nursing facilitiesl etc`, l`or certification as providers of services under the
program (42 U.S.C`. i935FF{b)}

862 BL All claims for“Blacl< t,ung" benefits under 'l`itle 4, ?art B, ol`the I-`ederal Coa| Mine llealth and Safcfy Act of l 969.
(30 U.S.C. 923)

863 DlWC All claims filed by insured workers for disability insurance benefits under ?r'tle 2 oi`lhe Socia| Sccurity Act, as
amended; plus ali claims filed for chiid’s insurance benet'rts based on disability (42 U.S.C. 405(g))

863 DlWW All claims filed for widows or widowers insurance benefits based on disability under '§`itle 2 otthe Social Security
Act, as amended (42 U.SC, 405(§’,))

864 SSlD Aii claims for supplemental security income payments based upon disability filed under 'l`itle 16 ofthc Sociai Security
Aet, as amended

865 RSI A%§ claims for retirement {old age) and survivors benefits under Tillc 2 ofthe Social Security Act, as amended (42
U‘S.C. (g))

 

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